21-10630-tmd Doc#3 Filed 08/05/21 Entered 08/05/21 12:37:12 Main Document Pg 1 of 3



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  Counsel to SKW – B Acquisitions Seller J, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                              §                Chapter 11
                                      §
  WC 717 N HARWOOD PROPERTY, LLC, §                    Case No. 21-10630-tmd
                                      §
        Debtor.                       §
  ____________________________________§


                               NOTICE OF APPEARANCE AND
                              DEMAND FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that the undersigned appears as counsel for SKW – B

  Acquisitions Seller J, LLC, a creditor and a party in interest, and pursuant to Rules 2002 and

  9010(b) of the Federal Rules of Bankruptcy Procedure, demands that all notices given or

  required to be served in this case be given or served, as the case may be, upon:

                                        Marc L. Hamroff
                                        Theresa A. Driscoll
                                        Moritt Hock & Hamroff LLP
                                        400 Garden City Plaza
                                        Garden City, New York 11530
                                        Telephone: 516.873.2000
                                        Facsimile: 516.873.2010
                                        Email: mhamroff@moritthock.com
                                        Email: tdriscoll@moritthock.com


           PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the Bankruptcy

  Code, the foregoing demand includes not only the notices and papers referred to in the rules

  2672496v1
21-10630-tmd Doc#3 Filed 08/05/21 Entered 08/05/21 12:37:12 Main Document Pg 2 of 3



  specified above but also includes, without limitation, orders and notices of any applications,

  motions, petitions, pleadings, requests, complaints or demands, whether formal or informal,

  whether written or oral and whether transmitted or conveyed by mail delivery, telephone,

  telegraph, facsimile transmission, telex, email or otherwise, which affects the Debtor or property

  of its estate.

          PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

  Demand for Service of Papers, nor any later appearance, pleading, claim or suit, shall constitute

  an election of remedies or waiver of (i) the right to have a final orders in non-core matters

  entered only after de novo review by a District Judge; (ii) the right to trial by jury in any

  proceeding triable in this case or any case, controversy, or proceeding relating to this case; (iii)

  the right to have the District Court withdraw the reference in any matter subject to mandatory or

  discretionary withdrawal; (iv) any objection to the jurisdiction of this Bankruptcy Court for any

  purpose other than with respect to this Notice; or (v) any other rights, claims, actions, defenses,

  setoffs, or recoupments as appropriate, in law or equity, under any agreements, all of which

  rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.

  Dated: Garden City, New York
         August 5, 2021
                                              MORITT HOCK & HAMROFF LLP


                                        By:      /s/ Theresa A. Driscoll
                                                Theresa A. Driscoll
                                                400 Garden City Plaza
                                                Garden City, NY 11530
                                                (516) 880-7243 (telephone)
                                                (516) 873-2010 (fax)
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                                                Attorneys for SKW – B Acquisitions Seller J, LLC




                                                   2
  2672496v1
21-10630-tmd Doc#3 Filed 08/05/21 Entered 08/05/21 12:37:12 Main Document Pg 3 of 3



                                CERTIFICATE OF SERVICE

  I hereby certify that, according to the Court’s ECF System, a true and correct copy of the
  foregoing was served electronically this 5th day of August, 2021 by the Court’s ECF System on
  all parties entitled to receive such electronic notice.


                                                      /s/Theresa A. Driscoll
                                                        Theresa A. Driscoll




                                               3
  2672496v1
